      Case 1:20-cv-00140-AW-GRJ Document 1 Filed 06/15/20 Page 1 of 10




                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF FLORIDA
BRANDON and SHELBY ROLLER,
            Plaintiffs,
                                            CIVIL ACTION NO.: __________
      v.
JOSEPH HYCHE and DIEBOLD                    JURY TRIAL DEMANDED
NIXDORF, INC.
            Defendants.


                           NOTICE OF REMOVAL
      Pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, Defendant Diebold Nixdorf,

Inc. (“Diebold”), through the undersigned counsel, removes this case from the

Circuit Court of the First Judicial Circuit of Florida, in and for Okaloosa County,

Florida, to the United States District Court for the Northern District of Florida,

Pensacola Division. In support of this Notice of Removal, Diebold states as

follows:

      1.    This case arises from a motor vehicle versus motorcycle accident that

occurred on April 4, 2017, between Plaintiffs Brandon and Shelby Roller

(“Plaintiffs”) and Defendant Joseph Hyche, a former employee of Diebold. On

March 5, 2020, Plaintiffs filed their Complaint against Defendants Hyche and

Diebold, styled as Brandon P. Roller and Shelby N. Roller v. Joseph B. Hyche and

Diebold Nixdorf, Inc., Case No. 2020 CA 000756F (the “State Court Action”). In
      Case 1:20-cv-00140-AW-GRJ Document 1 Filed 06/15/20 Page 2 of 10




accordance with 28 U.S.C. § 1446(a), copies of all process, pleadings, and orders

served on Diebold are attached hereto as Exhibit A.

      2.      Plaintiffs filed their State Court Action in the Circuit Court of the First

Judicial Circuit of Florida, in and for Okaloosa County, Florida. Venue in this

Court is proper because the State Court Action is pending within the Pensacola

Division of the United States District Court for the Northern District of Florida.

      3.      Jurisdiction is also proper in this Court. This case is removable,

pursuant to 28 U.S.C. § 1441(a) and 28 U.S.C. § 1332, because the parties are

completely diverse and the amount in controversy exceeds $75,000.00. Further,

this Notice of Removal is timely pursuant to 28 U.S.C. § 1446(b)(3).

                              REMOVAL IS TIMELY

      4.      The time for removal is governed by 28 U.S.C. § 1446(b), which

requires that a notice of removal be filed within 30 days of receipt by the defendant

of the plaintiff’s initial pleading. If the case is not removable on the face of

plaintiff’s initial pleading, 28 U.S.C. § 1446(b)(3) provides that “a notice of

removal may be filed within 30 days after receipt by the defendant, through service

or otherwise, of a copy of an amended pleading, motion, order or other paper from

which it may first be ascertained that the case is one which is or has become

removable.”




                                            2
      Case 1:20-cv-00140-AW-GRJ Document 1 Filed 06/15/20 Page 3 of 10




      5.     Plaintiffs filed their Complaint on March 5, 2020, and Diebold

accepted service on March 13, 2020.

      6.     Diebold did not file a notice of removal within 30 days of service of

Plaintiffs’ Complaint as it could not be ascertained from the face of the Complaint

that the State Court Action was removable. Plaintiffs’ Complaint alleges that

Plaintiffs and Defendant Hyche are residents of Florida, and that Diebold is an

Ohio corporation doing business in Florida. Ex. A, Compl. ¶¶ 2-4. The State Court

Action was not removable at that time because it lacked complete diversity among

the plaintiffs and defendants.

      7.     On May 15, 2020, Defendant Hyche served his responses to Plaintiffs’

Interrogatories, attached hereto as Exhibit B. In response to Interrogatory No. 2,

Defendant Hyche listed his addresses for the past 10 years. Although Defendant

Hyche lived in Navarre, Florida, at the time of the subject incident, he moved to

Alabama in or around May 2018 – approximately two years before Plaintiffs filed

their Complaint.

      8.     Prior to May 15, 2020, Diebold did not have knowledge or belief that

Defendant Hyche moved from Florida to Alabama as Defendant Hyche had not

been an employee of Diebold since 2018.

      9.     Diebold did not ascertain that complete diversity existed until it was

served with Defendant Hyche’s answers to Plaintiffs’ interrogatories. Those


                                         3
      Case 1:20-cv-00140-AW-GRJ Document 1 Filed 06/15/20 Page 4 of 10




responses constitute an “other paper” triggering Diebold’s right to remove this

case. See Fleming v. Colonial Stores, Inc., 279 F. Supp. 933 (N.D. Fla. 1968)

(holding petition for removal made by defendant within 30 days after

interrogatories were answered was timely); Wright, Miller & Cooper, Federal

Practice and Procedure: Jurisdiction 3d § 3723, pp. 306-10 (“Various discovery

documents such as . . . answers to interrogatories usually are accepted as ‘other

paper’ sources that initiate a new thirty-day period of removability”).

      10.    This Notice of Removal is timely filed within 30 days of Diebold’s

receipt of the “other paper” from which it first ascertained that the case was

removable.

                       COMPLETE DIVERSITY EXISTS

      11.    Complete diversity exists between Plaintiffs and Defendants. At all

times material to this action, Plaintiffs have been residents of Okaloosa County,

Florida. See Ex. A, Compl. ¶¶ 2-3.

      12.    Diebold is incorporated and maintains a principal place of business in

Ohio. Id. at ¶ 4.

      13.    Defendant Hyche is and was a resident of Alabama at the time of the

filing of the Complaint and at the time of this removal. See Ex. B, Answer to

Interrogatory No. 2.




                                          4
      Case 1:20-cv-00140-AW-GRJ Document 1 Filed 06/15/20 Page 5 of 10




      14.    Accordingly, there is complete diversity of citizenship under 28

U.S.C. § 1332 because none of the Defendants are citizens of Florida and because

there is complete diversity among and between Plaintiffs and all Defendants.

              AMOUNT IN CONTROVERSY EXCEEDS $75,000

      15.    This action arises from alleged injuries and damages resulting from a

motor vehicle versus motorcycle accident. Plaintiffs’ Complaint does not specify

an amount of damages.

      16.    To meet the amount in controversy requirement, the removing

defendant must demonstrate that the amount in controversy likely exceeds the

court’s jurisdictional threshold. Williams v. Best Buy Company, Inc., 269 F.3d

1316, 1319-20 (11th Cir. 2001). Where the complaint does not expressly allege a

specific amount in controversy, removal is proper if it is facially apparent from the

complaint that the amount in controversy exceeds the jurisdictional requirement.

Id.

      17.    When determining the amount in controversy, courts of the Eleventh

Circuit follow the “plaintiff-viewpoint rule” wherein courts “are to measure the

value of the object of the litigation solely from the plaintiff’s perspective.”

Ericsson GE Mobile Communs. v. Motorola Communs. & Elecs., 120 F.3d 216,

218-19 (11th Cir. 1997).




                                         5
      Case 1:20-cv-00140-AW-GRJ Document 1 Filed 06/15/20 Page 6 of 10




      18.    As proof of the jurisdictional amount, a removing defendant may

submit its own evidence in the form of affidavits and other documentary evidence.

Pretka v. Kolter City Plaza II, Inc., 608 F.3d 744, 756 (11th Cir. 2010); see also

See Fernandez v. Allstate Ins. Co., 2008 U.S. Dist. LEXIS 8086, *2 (E.D. La.

2008) (accepting “damage assessments or repair estimates for the property” as

“affirmative proof in regards to the amount in controversy”); Roe v. Michelin

North America, Inc., 613 F.3d. 1058 (11th Cir. 2010) (discussing factors for trial

court to consider in discerning whether the complaint presents a case that “more

likely than not” exceeds $75,000).

      19.    Here, the Plaintiffs and Diebold engaged in settlement negotiations

prior to Plaintiffs filing suit, which included the collection of Plaintiffs’ medical

records and bills. In general, Plaintiffs Brandon and Shelby Roller allege to have

suffered “bodily injury, resulting pain and suffering, disability, disfigurement,

mental anguish, loss of capacity for the enjoyment of life, expenses of

hospitalization, medical and nursing care and treatment, loss of earnings, and loss

of ability to earn money . . . .” Ex. A at ¶¶ 11, 12, 15, 16. In pre-suit negotiations,

Plaintiffs Shelby Roller and Brandon Roller produced medical bills totaling more

than $70,000 and $50,000, respectively, allegedly due to injuries sustained in the

subject incident.




                                          6
        Case 1:20-cv-00140-AW-GRJ Document 1 Filed 06/15/20 Page 7 of 10




         20.      Pre-suit demand letters that provide a “reasonable assessment of the

value of the claim” are more indicative of the true amount in controversy. Moser v.

Cincinnati Ins. Co., No. 8:14–cv–3121–CEH–TWG, 2015 WL 628961, at *2

(M.D. Fla. Feb. 12, 2015). A court may consider a demand letter in combination

with other supporting evidence to determine whether all the evidence taken as a

whole establishes that the jurisdictional amount has been satisfied. Kilmer v.

Stryker Corp., No. 5:14–cv–456–Oc–34PRL, 2014 WL 5454385, at * 3 (M.D. Fla.

Oct. 27, 2014). Accordingly, a settlement offer that contains supporting

information, such as medical bills or a specific medical diagnosis, can satisfy the

necessary amount in controversy. See Hernandez v. Burlington Coat Factory of

Fla., LLC, No. 2:15–cv–403–FtM–29CM, 2015 WL 5008863, at *2 (M.D. Fla.

Aug. 20, 2015).

         21.      Here, Plaintiffs made of combined settlement demand well in excess

of $75,000, with specific references to the medical and billing records collected to

date.1 See Boyd v. State Farm Mut. Auto. Ins. Co., No. 615CV1965ORL22TBS,

2015 WL 12838805, at *3 (M.D. Fla. Dec. 16, 2015) (finding that a demand letter

with specific documentation of medical expenses demonstrated that the amount in




1 To maintain the confidentiality of settlement negotiations, Diebold has not attached the demand letter to this
Notice. Diebold, however, can make the demand letter available to the Court for in camera inspection if necessary.


                                                          7
       Case 1:20-cv-00140-AW-GRJ Document 1 Filed 06/15/20 Page 8 of 10




controversy was met). Therefore, it can be reasonably concluded from Plaintiffs’

settlement demand and medical records that Plaintiffs claims exceed $75,000.00.

      ALL OTHER PROCEDURAL REQUIREMENTS HAVE BEEN MET
       22.   Copies of all process, pleadings, and orders served on and by Diebold

in the State Court Action, and such other papers that are exhibits required by 28

U.S.C. § 1446 and the Local Rules of this Court, are filed herein.

       23.   Pursuant to 28 U.S.C. § 1446(d), Diebold has provided written notice

of the filing of the Notice of Removal, along with copies of this Notice of Removal

and all attachments, to all adverse parties and with the Clerk of the Circuit Court of

the First Judicial Circuit, in and for Okaloosa County, Florida.

       WHEREFORE, notice is hereby given that this action is removed from the

Circuit Court of the First Judicial Circuit of Florida, in and for Okaloosa County,

Florida to the United States District Court for the Northern District of Florida,

Pensacola Division. Should any question arise to the removal of this matter,

Defendant Diebold respectfully requests an opportunity to conduct discovery

and/or to provide briefing and an oral argument as to why removal is proper.

///




                                          8
      Case 1:20-cv-00140-AW-GRJ Document 1 Filed 06/15/20 Page 9 of 10




                                       Respectfully submitted,

                                       /s/Jon J. Hernan

                                       Jon J. Hernan
                                       Florida Bar No.: 658588
                                       BOWMAN AND BROOKE LLP
                                       Four Northpoint Center
                                       1064 Greenwood Blvd., Suite 212
                                       Lake Mary, FL 32746-5419
                                       (407) 585-7600 – Telephone
                                       (407) 585-7610 – Facsimile
                                       Jon.hernan@bowmanandbrooke.com
                                       Attorneys for Defendant Diebold Nixdorf,
                                       Inc.


                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a true and correct copy of the foregoing has been

served via email on this 15th day of June, 2020 to the following:

      Christopher P. Janes, Esq. FBN: 100072
      Clayton Taylor, Esq. FBN: 17771
      MICHLES & BOOTH, P.A.
      1502 South Ferdon Blvd.
      Crestview, FL 32536
      Ph.: (850) 683-4848
      Fax: (850) 683-8885
      E-Mail: courtdocs@michlesbooth.com
             filing@michlesbooth.com

                                       Respectfully submitted,

                                       /s/Jon J. Hernan

                                       Jon J. Hernan
                                       Florida Bar No.: 658588
                                       BOWMAN AND BROOKE LLP


                                          9
Case 1:20-cv-00140-AW-GRJ Document 1 Filed 06/15/20 Page 10 of 10




                               10
